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Debtor 4 JOEL CROSBY SINNOTT

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Nevada [-]
Case number 19-11372-BTB CI Check if this is an
(If known) amended filing

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12s

 

If you are an individual filing under chapter 7, you must fill out this form if:

—™ creditors have claims secured by your property, or

m@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

aa List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's 4 Surrender the property. No

name.  opecialized Loan Servicing LLC
. UI Retain the property and redeem it. UL] Yes
Description of 8720 Castle View Ave.

property Las Vegas, NV 89129
securing debt:

UL) Retain the property and enter into a
Reaffirmation Agreement.

Q) Retain the property and [explain]:

 

 

 

Creditor’s .
ee Bridgecrest (I Surrender the property. LI No
. UJ Retain the property and redeem it. uy Yes
Descrip tion of 2004 F-250 Pickup Truck Retain the property and enter into a
rope’
securing debt: Reaffirmation Agreement.
CO) Retain the property and [explain]:
Creditor's (2) Surrender the property. LI No
name:
(2) Retain the property and redeem it. CU) Yes
ropery. of UI Retain the property and enter into a
securing debt: Reaffirmation Agreement.
UL) Retain the property and [explain]:
Creditor's UJ Surrender the property. LI No
name:
UJ Retain the property and redeem it. OC) Yes
orenety of UL) Retain the property and enter into a
securing debt: Reaffirmation Agreement.

U Retain the property and [explain]:

 

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Debtor 4 JOEL CROSBY SINNOTT Case number (if known) 19-11372-BTB

 

 

First Name Middle Name Last Name

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: UI No
Oy

Description of leased es

property:

Lessor’s name: UL) No

Description of leased U1 Yes

property:

Lessor’s name: U2 No

Description of leased L} Yes

property:

Lessor’s name: UI No
L) Yes

Description of leased

property:

Lessor’s name: UI No
UL) Yes

Description of leased

property:

Lessor’s name: CI No
U Yes

Description of leased

property:

Lessor’s name: CI No
UL) Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

X /s/ Joel Crosby Sinnott x
Signature of Debtor 1 Signature of Debtor 2
Date 94/26/2019 Date
MM/ DD / YYYY MM/ DD/ YYYY

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